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                           IN THE UNITED STATES DISTRICTCOURT
                              FOR THE DISTRICT OF NEW JERSEY

CLEMENT OUEDRAOGO, and similarly
situated individuals,

         Plaintiff,

vs.                                                                     COLLECTIVE AND CLASS
                                                                         ACTION COMPLAINT
DELTA GAS COMPANY, and all other
affiliated entities and/or joint employers,                              Civil Case No.:
JOHN DOE CORPORATIONS, JASWAL
BILA, individually, IRFAN HASSAN,                                           Jury Trial Demanded
individually, and JOHN DOES,
individually,

         Defendants.




          Named Plaintiff CLEMENT OUEDRAOGO (“Ouedraogo” or “Plaintiff”) on behalf of

 himself and all others similarly situated, by and through her attorneys, upon personal knowledge as

 to himself and upon information and belief as to other matters, brings this Collective and Class

 Action Complaint against Defendants DELTA GAS COMPANY, and all other affiliated entities

 and/or joint employers, JOHN DOE CORPORATIONS, (“Delta Gas” or Defendants) JASWAL

 BILA, individually, IRFAN HASSAN, individually, and JOHN DOES, individually, (“Delta Gas

 individual Defendants”) ( c o l l e c t i v e l y “ D e f e n d a n t s ” ) and alleges as follows:

                                                INTRODUCTION

       1. Named Plaintiff brings this lawsuit seeking recovery against Defendants for Defendants’

          violation of the Fair Labor Standards Act, as amended (the “FLSA” or the “Act”), 29

          U.S.C. §201 et. seq. and the New Jersey State Wage and Hour Law, N.J.S.A. 34:11-56a

          et seq. (“NJWHL”).

       2. Named Plaintiff brings this lawsuit against Defendants as a collective action on behalf of


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    himself and all other persons similarly situated – who suffered damages as a result of

    Defendants’ violations of the FLSA pursuant to the collective action provisions of 29

    U.S.C. § 216(b), and as a class action pursuant to Rule 23.

 3. Beginning in approximately 2015, and continuing through January 2018, Defendants

    engaged in a policy and practice of requiring Named Plaintiff and members of the

    putative collective to regularly work in excess of forty (40) hours per week, without

    providing overtime compensation as required by applicable federal and New Jersey state law.

 4. The Named Plaintiff has initiated this action on behalf of himself and similarly situated

    employees to recover the overtime compensation that Plaintiff and similarly situated

    employees were deprived of, plus interest, damages, attorneys’ fees, and costs.

                                  JURISDICTION AND VENUE

 5. This Court has subject matter jurisdiction over Named Plaintiff’s FLSA claims pursuant

    to 28 U.S.C. § 1331 and by 29 U.S.C. § 216(b).

 6. This Court has subject matter jurisdiction over Named Plaintiff’s NJWHL claims pursuant

    to 28 U.S.C. §§ 1332 and 1367.

 7. Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1391(b)(2) because a

    substantial part of the events or omissions giving rise to the claims occurred in this

    district.

 8. At all times material hereto, Named Plaintiff performed non-exempt g a s s t a t i o n

    a n d f o o d m a r t duties for the Defendants in New Jersey and based from o n e

    o f Defendants’ m a n y locations in Essex County, New Jersey. Defendants are

    therefore within the jurisdiction and venue of this Court.

 9. At all times pertinent to this Complaint, the Defendants were and remain enterprises


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       engaged in interstate commerce or in the production of interstate goods for commerce as

       defined by the Act, 29 U.S.C. §§ 203(r) and 203(s). More specifically, Defendants own,

       operate, and/or manage gas stations and food marts, which purchase materials from vendors

       in New Jersey as well as from other states throughout the country. Alternatively, Named

       Plaintiff and those similarly situated employees worked in interstate commerce, i.e., i t s

       em p l o ye e s h an dl e g ood s o r m at er i a l s t h at h av e b ee n m ov ed or p ro du c ed i n

       i nt er st at e co m m er c e . Further the Named Plaintiff regularl y processe d credit

       cards and communicated with other vendors out of the State of New Jersey.

       Thus, Named Plaintiff and those similarly situated employees fall within the protections of

       the Act.

                                                    PARTIES

Plaintiff

   10. Named Plaintiff Ouedraogo is an adult individual who is a resident of East Orange, New

       Jersey.

   11. Named Plaintiff Ouedraogo was employed by Defendants full time as a gas station and

       food mart worker, performing duties in furtherance of Defendants’ business, specifically,

       filling cars with gas and accepting payments for same from customers, paying some vendors

       for materials, accepting money and credit cards for gas from customers, cash register

       responsibilities, selling lottery tickets, and stocking food on the shelves, from in or about

       2015, through in or about January 2018.

   12. Plaintiff Ouedraogo worked in Defendants’ East Orange location.

Corporate Defendants

   13. Delta Gas is a New Jersey corporation, with one of their offices located at 51 Main Street,


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      East Orange, New Jersey 07018.

   14. Upon information and belief, and at all t imes relevant to this Complaint, the Defendants

      employ individuals to perform labor services on behalf of the Defendants.


Individual Defendants

   15. Upon information and belief, Individual Defendant Jaswal Bila is a New Jersey state

      resident.

   16. Upon information and belief, at all times relevant to this Complaint, individual Defendant

      Jaswal Bila has been an owner, partner, officer and/or manager of the Defendant Delta Gas.

   17. Upon information and belief, at all times relevant to this Complaint, individual Defendant

      Jaswal Bila has had power over personnel decisions at the Defendant Delta Gas’ business.

   18. Defendant Jaswal Bila was regularly present at Delta Gas, and managed the day to day

      operations, controlled the employees, pay practices and had the power to change same, as

      well as the power to hire and fire employees, set their wages, and otherwise control the terms

      of their employment.

   19. Upon information and belief, Individual Defendant Irfan Hassan is a New Jersey state

      resident.

   20. Upon information and belief, at all times relevant to this Complaint, individual Defendant

      Irfan Hassan has been an owner, partner, officer and/or manager of the Defendant Delta Gas.

   21. Upon information and belief, at all times relevant to this Complaint, individual

      Defendant Irfan Hassan has had power over personnel decisions at the Defendant Delta Gas’

      business.

   22. Defendant Irfan Hassan was regularly present at Delta Gas, and managed the day to day


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    operations, controlled the employees, pay practices and had the power to change same, as

    well as the power to hire and fire employees, set their wages, and otherwise control the terms

    of their employment.

 23. Upon information and belief, Individual Defendants John Does are New Jersey state

    residents.

 24. Upon information and belief, at all times relevant to this Complaint, individual Defendants

    John Does have been an owner, partner, officer and/or manager of the Defendant Delta Gas.

 25. Upon information and belief, and at all times relevant to this Complaint, individual

    Defendants John Does have had power over personnel decisions at the Defendant Gas’

    business.

 26. Defendants John Does were regularly present at Delta Gas, and managed the day to day

    operations, controlled the employees, pay practices and had the power to change same, as

    well as the power to hire and fire employees, set their wages, and otherwise control the terms

    of their employment.

 27. Upon information and belief, at all times relevant to this Complaint, the Defendants’ annual

    gross volume of sales made or business done was not less than $500,000.00.

 28. At all times relevant to this Complaint, the Defendants were and are employers engaged in

    commerce under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

                       CLASS AND COLLECTIVE ALLEGATIONS



 29. This action is properly maintainable as a collective action pursuant to the Fair Labor

    Standards Act, 29 U.S.C. § 216(b) and as a class action pursuant to Rule 23.

 30. This action is brought on behalf of Named Plaintiff and a putative collective consisting



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    of similarly situated employees who performed work for Defendants.

 31. The Named Plaintiff and potential plaintiffs who elect to opt-in as part of the collective

    action are all victims of the Defendants’ common policy and/or plan to violate the FLSA

    and NJWHL by failing to provide overtime wages, at the rate of one and one half times the

    regular rate of pay, for all time worked in excess of 40 hours in any given week pursuant to

    29 U.S.C. § 207.

 32. The putative class is so numerous that joinder of all members is impracticable. The size of

    the putative class is believed to be in excess of 100 employees. In addition, the names of all

    potential members of the putative class are not known.

 33. The claims of the Named Plaintiff are typical of the claims of the putative class. The

    Named Plaintiff and putative class members were all subject to Defendants’ policies and

    willful practices of failing to pay employees all earned overtime wages. The Named Plaintiff

    and putative class members thus have sustained similar injuries as a result of Defendants’

    actions.

 34. Upon information and belief, Defendants uniformly apply the same employment policies,

    practices, and procedures to all employees who work at the Defendants’ gas stations and Food

    Marts.

 35. The Named Plaintiff and his counsel will fairly and adequately protect the interests of the

    putative class. The Named Plaintiff has retained counsel experienced in complex wage and

    hour class and collective action litigation.

 36. A class action is superior to other available methods for the fair and efficient

    adjudication of this controversy. The individual Named Plaintiff and putative class lack

    the financial resources to adequately prosecute separate lawsuits against Defendants.


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    Furthermore, the damages for each individual are small compared to the expense and

    burden of individual prosecution of this litigation.

 37. This action is properly maintainable as a collective action pursuant to § 216(b) of the Act.

 38. Plaintiffs’ claims under the NJWHL are properly maintainable as a class action under Rule

    23 of the Federal Rules of Civil Procedure.

 39. A class action under Rule 23 and a collective action under § 216(b) also prevent unduly

    duplicative litigation resulting from inconsistent judgments pertaining to the Defendants’

    policies.

                                                  FACTS

 40. Based upon the information preliminarily available, and subject to discovery, beginning

    in approximately 2015, and continuing to the present, Defendants employed the Named

    Plaintiff and members of the putative class to perform tasks in furtherance of their gas

    stations and food marts business.

 41. Based upon the information preliminarily available, and subject to discovery,

    Defendants did not properly compensate Named Plaintiff and similarly situated employees,

    for overtime hours worked in a work week.

 42. The majority of Named Plaintiff’s time at work, included, but was not limited to, regularl y

    processing credit cards and communicated with other vendors out of the

    State of New Jerse y, filling cars with gas, selling food in the food mart, paying vendors

    for gas as well as food, stocking the shelves at the food mart, and working the register at the

    food mart.

 43. Named Plaintiff Ouedraogo was generally paid a salary of $540.00 per week, however, this

    amount varied occasionally.


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 44. Named Plaintiff agreed to work for $7.50 per hour, but since he needed the job and money,

     and in spite of what he was being paid, continued to work for Defendants receiving much

     less than he agreed to and was owed to him.

 45. Named Plaintiff Ouedraogo routinely worked seven (7) days per week.

 46. Named Plaintiff worked approximately eighty-four (84) hours per week.

 47. Named Plaintiff rarely, if ever, worked less than eighty-four (84) hours in a workweek.

 48. Named Plaintiff was not paid time and one half for his hours over forty (40) in a workweek.

  49. Upon information and belief, employees similarly situated to Named Plaintiff were

     not compensated for hours over forty (40) hours per week, regardless of the number of hours

     that they worked each and every workweek.


 50. Defendants have engaged in a widespread pattern, policy, and practice of violating the FLSA

     and NJWHL, as described in this Complaint.


 51. At all times material hereto, Named Plaintiff and all similarly situated employees were

     performing their duties for the benefit of and on behalf of Defendants.


 52. At all times pertinent to this complaint, Defendants failed to comply with Title 29 U.S.C. §§

     201-209, as well as applicable provisions of the NJWHL, in that Named Plaintiff and those

     similarly situated employees performed services and labor for Defendants for which

     Defendants made no provision to pay Named Plaintiff and other similarly situated

     employees compensation to which they were lawfully entitled for all of the hours worked in

     excess of forty(40) within a work week.




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                            COUNT I
             RECOVERY OF OVERTIME COMPENSATION
                    PURSUANT TO THE FLSA

 53. Named Plaintiff re-alleges, and incorporates here by reference, all allegations contained

    above.


 54. Named Plaintiff is entitled to compensation for each of his overtime hours worked each work

    week.


 55. All similarly situated employees of the Defendants are similarly owed their overtime rate for

    each and every overtime hour they worked and were not properly paid.


 56. Defendants knowingly and willfully failed to pay Named Plaintiff and other similarly situated

    employees at time and one half of their regular rate of pay for their overtime hours worked.


 57. By reason of the said intentional, willful, and unlawful acts of Defendants, Named Plaintiff

    and those similarly situated employees have suffered damages plus incurring costs and

    reasonable attorneys’ fees.


 58. Because Defendants’ violations of the FLSA have been willful, a three-year statute of

    limitations applies, pursuant to 29 U.S.C. § 255.


 59. As a result of Defendants’ willful violations of the Act, Named Plaintiff and those similarly

    situated employees are entitled to liquidated damages.

                                 COUNT II
                    RECOVERY OF OVERTIME COMPENSATION
                          PURSUANT TO THE NJWHL

 60. Named Plaintiff re-alleges, and incorporates here by reference, all allegations contained in

    Paragraphs above.




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     61. Defendants’ aforementioned conduct is in violation of the NJWHL. In violation of New

         Jersey Statutes §§ 34:11-56a4 et seq., the Defendants willfully failed to pay the Named

         Plaintiff and other members of the putative class their statutorily required overtime

         compensation for the time they worked in excess of forty (40) hours a week for the

         Defendants.


     62. As a direct and proximate cause of Defendants’ actions, Named Plaintiff and those similarly

         situated employees suffered damages, including but not limited to past lost earnings.

                                                JURY TRIAL

     63. Named Plaintiff and similarly situated employees demand a jury trial.


       WHEREFORE, Named Plaintiff, individually and on behalf of all other similarly situated

persons, seek the following relief:

       (1) on their first cause of action, against Defendants in an amount to be determined at trial,

plus liquidated damages as permitted under the FLSA in the amount equal to the amount of unpaid

wages, interest, attorneys’ fees and costs;

       (2) on their second cause of action, in an amount to be determined at trial, plus interest,

attorneys’ fees and costs; and

       (3) Such other injunctive and equitable relief as this Court shall deem just and proper.

       Dated: August 15, 2018                 Respectfully submitted,

                                               /s/ Andrew I. Glenn
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                                 Class




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